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GRODSKY & OLECKI LLP

Allen B. Grodsky (SBN 111064)
allen@grodsky-olecki.com

Zachary Rothenberg (SBN 215404)
pachor ya enous pleck com

2001 Wilshire Boulevard, Suite 210
Santa Monica, California 90403
Telephone: (310) 315-3009
Facsimile: (310) 315-1557

Attorneys for Plaintiff
Smith Global Management, Inc.

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

SMITH GLOBAL MANAGEMENT, INC.,) Case No. CV12-10935 CAS (PJWx)
Plaintiff,

V.
STIPULATION FOR DISMISSAL

GEN FUKUNAGA, FUNIMATION WITH PREJUDICE
PRODUCTIONS, LTD. d/b/a
FUNIMATION ENTERTAINMENT,
FUNIMATION ENTERTAINMENT,
INC., FUN MUSIC PROJECT, LLC, and
CHRIS MOUJAES, and DOES 1 through

Defendants.

 

IT IS HEREBY STIPULATED by and between the parties to this action
through their counsel of record that the above-captioned action be and hereby is
dismissed with prejudice pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil
Procedure.

The parties will bear their own attorney’s fees and costs of suit.

 
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GRODSKY & OLECKI LLP
Allen-B. Grodsky
ZacKary\ Rothenberg

By

 

: Ly TS
\ Mlef B. Grodsky

Attorneys for Plaintiff
Smith Global Management, Inc.

JONES WALKER LLP
Lauren J. Harrison
Daniel H. Purdie

 

 

Aeh 7 Harigon

  

Attorneys for Def

FUNimation Productions, Ltd. d/b/a
FUNimation Entertainment, Gen
Fukunaga, and Chris Moujaes

 
